












					 






In The

Court of Appeals

For The

First District of Texas

____________


NOS. 01-02-00854-CR

          01-02-00855-CR

____________


JESSE MARION BAILEY, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 179th District Court

Harris County, Texas

Trial Court Cause Nos. 911475 and 911375






MEMORANDUM  OPINION

	Appellant, Jesse Marion Bailey, pleaded guilty to burglary of a habitation
with intent to commit theft and unauthorized use of a motor vehicle.  Appellant
entered into a plea bargain agreement with the State in which the State recommended
that punishment be assessed at five years confinement in each case.  The trial court
followed the terms of the plea agreement in assessing punishment.  Appellant filed
timely notice of appeal.  We dismiss the appeals for lack of jurisdiction.

	When a defendant in a criminal case pleads guilty or no contest after having
reached a plea bargain agreement with the State, and the trial judge sentences the
defendant in accordance with the plea bargain agreement, the notice of appeal must
comply with Rule 25.2(b)(3) of the Texas Rules of Appellate Procedure.  The rule
states that, in such a case, "the notice must: (A) specify that the appeal is for a
jurisdictional defect; (B) specify that the substance of the appeal was raised by
written motion and ruled on before trial; or (C) state that the trial court granted
permission to appeal."  Tex. R. App. P. 25.2(b)(3).

	However, it is not enough that the notice of appeal include recitations
meeting the extra-notice requirements of the rule.  Such recitations must be supported
by the record and be true.  Appellant must, in good faith, comply in both form and
substance with the extra-notice requirements.  Noncompliance, either in form or in
substance, will result in a failure to properly invoke this Court's jurisdiction over an
appeal to which the rule applies.  Flores v. State, 43 S.W.3d 628, 629 (Tex.
App.--Houston [1st Dist.] 2001, no pet.); Betz v. State, 36 S.W.3d 227, 228-29 (Tex.
App.--Houston [14th Dist.] 2001, no pet.); Sherman v. State, 12 S.W.3d 489, 492
(Tex. App.--Dallas 1999, no pet.).

	Appellant's notice of appeal, filed in both cause numbers, includes the
following recitations:

	The Defendant further alleges that if this appeal is from a
judgment rendered on a plea of guilty or nolo contendere that the
trial court granted permission to appeal; and that if the trial court
did not exceed the prosecutor's recommended punishment, that
this appeal is for a jurisdictional defect; and that the substance of
the appeal was raised by written motion and ruled on before trial.


However, according to the clerk's records, no pretrial motions were filed.  In addition,
the trial court judgments were stamped, "Appeal waived.  No permission to appeal
granted."  Finally, it is apparent from the records that the trial court had jurisdiction
in each case.  Therefore, appellant's notice of appeal does not comply in substance
with the requirements of Rule 25.2(b)(3).

	We also note that appellant waived his right to appeal if the trial court
followed the plea bargain agreement, which he did.  See Buck v. State, 45 S.W.3d
275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	We dismiss the appeals for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Nuchia, Jennings, and Radack.

Do not publish.   Tex. R. App. P. 47.


